         Case 22-14583-SMG           Doc 40       Filed 07/15/22   Page 1 of 17    I     "i
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                     UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                        FORT LAUDERDALE DIVISION


       In re:                                               Case No. 22-14583-SMG
                                                            Chapter 13
       MARISA CHANILE SMITH,
            Debtor          I

DEBTOR'S VERIFIED RESPONSE IN OPPOSITION TO CREDITOR SHOMA
HOMES AT NAUTICA SINGLE FAMILY NEIGHBORHOOD, INC.'S MOTION
                   FOR RELIEF FROM STAY


       I, the Debtor Marisa Smith hereby files this, my Verified Response in Opposition

to Creditor Shoma Homes at Nautica Single Family Neighborhood, Inc. 's Motion for

Relief from Stay, and in support hereof states as:

       On May 25, 2022, the alleged creditor, Shoma Homes at Nautica Single Family

Neighborhood, Inc. (" SHOMA") obtained a pre-petition state court final judgment in the

Circuit Court of the 17th Judicial Circuit in and for Broward County, Florida (the "state

Court"), in case number CACE 20-15682. [ECF No. 19-1].             However, prior to the

Debtor's June 14, 2022 chapter 13 petition filing, the time to file a motion for rehearing

and/or to file an appeal directed at the May 25, 2022 final judgment had not yet expired.

Therefore, the execution of said final judgment has been suspended.

       Nevertheless, paragraph six (6) of the state Court final judgment scheduled a June

14, 2022 public auction of the Debtor's homestead and primary residence located at 3809

S.W. 164th Terrace, Miramar, Florida 33027. Here, it's extremely important to note that

the final judgment un-customarily scheduled the public auction to occur in just 20 days

later. Certainly it would be, and in fact was, very difficult for SHOMA to comply with

the Florida law that requires publication of a "notice of sale" once a week for 2

                                              I
         Case 22-14583-SMG           Doc 40      Filed 07/15/22     Page 2 of 17




consecutive weeks, with the second publication being published at least 5 days before the

June 14, 2022 foreclosure auction.

       On or about June 6, 2022, the debtor accessed the Clerk of the state Court's

website for online judicial sales and discovered that the subject property was not

scheduled for a June 14, 2022 foreclosure sale, but instead, was scheduled for an August

24, 2022 foreclosure sale date. Thus, because of the difficulties of publishing a notice of

sale (for 14 consecutive days) by June 14, 2022, SHOMA and/or the Clerk of the State

court, scheduled the foreclosure sale to occur on August 24, 2022 - instead of June 14,

2022 as ordered by the May 25, 2022 final judgment. Copies of the State court Clerk's

auctions scheduled for June 14, 2022 (which does not include the subject property); and

its auctions scheduled for August 24, 2022 (which does includes the subject property),

are attached hereto as Exhibits A and B, respectively.

       On June 9, 2022 (just five (5) days before June 14, 2022 foreclosure sale),

SHOMA filed a document purporting to reflect that it [SHOMA] caused the publication

of a "notice of sale pursuant to chapter 45". However, the alleged proof of publication

does not reflect that the notice of sale was published pursuant to chapter 45, because it

does not prove that said notice of sale was published for two consecutive weeks, i.e. 14

consecutive days.

       This is factual because the alleged affidavit from the legal clerk of the Broward

Daily Review ("BDR"), reveals that the first publication of the notice of sale was

published on June 2, 2022.      However, before the 7-day period of the June 2, 2022

publication expired, (i.e. on June 8, 2022), the second publication started on June 6, 2022.

As such, the notice of sale was not published for "two consecutive weeks" (two



                                             2
          Case 22-14583-SMG          Doc 40      Filed 07/15/22     Page 3 of 17




consecutive 7-day periods). In fact, the affidavit reveals that the first publication was for

only four (4) days - June 2, 2022, June 3, 2022, June 4, 2022 and June 5, 2022. In other

words, the June 6, 2022 second publication disrupted the 7-day completion of the June 2,

2022 first publication. A copy of the BDR affidavit of proof of publication, is attached

hereto as Exhibit C.

        Shockingly however, on June 13, 2022 (just hours before June 14, 2022 @ 10:00

AM foreclosure sale of my home), the Debtor learned (for the very first time since on or

about June 6, 2022), that the August 24, 2022 foreclosure sale of her homestead and

primary residence, had been cancelled and re-scheduled for June 14, 2022. Here, it's

extremely important to note that the August 24, 2022 sale date was cancelled and re-

scheduled for June 14, 2022 without an order from the state Court.

        The Debtor, on June 13, 2022, and again on the morning of June 14, 2022,

pleaded with the supervisor and other employees of the State court Clerk's office,

representatives at the BDR, and SHOMA's attorneys, to postpone the June 14, 2022, due

to the improperly published and inappropriately re-scheduled June 14, 2022 foreclosure

sale. Unfortunately, the Debtor's attempts to encourage the Clerk's office, BDR, and/or

SHOMA's attorney to postpone the June 14, 2022 foreclosure sale due to the publication

error, fell on deaf ears.

        After SHOMA's attorney and the state Court Clerk's office refuse to act on the

improperly published notice of sale by cancelling the June 14, 2022 sale date, I, the

Debtor Marisa Smith was left with no other choice but to seek protection from this Court

by filing an emergency chapter 13 bankruptcy petition on June 14, 2022 at exactly 1:12

P.M.



                                             3
         Case 22-14583-SMG          Doc 40       Filed 07/15/22    Page 4 of 17




       Indeed, the very last thing I, the Debtor Marisa C. Smith wanted to do, was to file

this instant bankruptcy case. In fact, since the entry of the state Court's final judgment -

until June 13, 2022 (my less than 24 hour notification of a June 14, 2022 foreclosure

sale), I was preparing to verify and thereafter, pay off SHOMA's May 25, 2022 final

judgment.

                                      ARGUMENT

       It appears that Creditor, SHOMA is seeking relief from the automatic stay

pursuant to§§ 362(d), of the Bankruptcy Code, which provides:

               (d) On request of a party in interest and after notice and a hearing, the
       court shall grant relief from the stay provided under subsection (a) of this section,
       such as by terminating, annulling, modifying, or conditioning such stay-

                       ( 1) for cause, including the lack of adequate protection of an
               interest in property of such party in interest;
                       (2) with respect to a stay of an act against property under
               subsection (a) of this section, if-

                              (A) the debtor does not have an equity in such property;
                      and
                             (B) such property is not necessary to an effective
                      reorganization;
Bad Faith

       A. Section 362(d)(l)

               A party seeking relief from the automatic stay must make a prima-facie
       showing of cause after which the burden shifts to the opposing party to prove its
       entitlement to the continued protections of the stay. Froman v. Fein, 566 B.R.
       641, 652 (S.D.N.Y. 2017). Because the Bankruptcy Code does not define cause,
       the determination of whether to grant relief from the stay based on cause is a
       discretionary one which is made on a case by case basis. In re Boardwalk, Inc.,
       520 B.R. 126, 132 (Bankr. M.D. Fla. 2014). Yes, it is true that the filing of a
       bankruptcy petition in bad faith constitutes cause pursuant to § 362(d)(l) to lift
       the automatic stay. In re Phoenix Picadilly, 849 F.2d 1393, 1394 (11th Cir. 1988).

       Although SHOMA does not clearly indicate in its Motion for Relief from Stay

what it believes constitutes cause in this instant case, presumably the cause to which it


                                             4
         Case 22-14583-SMG             Doc 40    Filed 07/15/22     Page 5 of 17




vaguely refers to is the filing of this instant case allegedly in "bad faith"; and SHOMA's

alleged lack of adequate protection.

       Indeed, the debtor has filed two (2) bankruptcy petitions (within the last four (4)

years) prior to filing this instant case. However, unlike the previous two cases, I, the

Debtor had no intentions, plans, or any inclinations whatsoever of filing this instant case

- that is, until I received less than 24 hour notice on June 13, 2022 that my home (which

values at nearly $600,000.00 dollars) would be sold the very next morning (June 14,

2022) for approximately $34,000 via a public auction.

       Contrary to SHOMA's attorney's unverified statement that "the present case was

filed in bad faith", this instant case was filed as an emergency to stop a foreclosure sale

which was rescheduled (in bad faith) from August 24, 2022 to June 14, 2022, and done

so, without a state Court order and without notice to me, the Debtor. In fact, I, the Debtor

did not learn of the rescheduling of the foreclosure sale from August 24th to June 14'\

until June 13, 2022 - one day before that June 14th foreclosure sale date.

       Thus, prior to June 13, 2022 (my 24 hour notice of the June 14, 2022 sale date), I

had no reason, and thus, no intentions whatsoever of filing this current chapter 13

bankruptcy case. Additionally, the reason I filed this case late in the afternoon of June

14, 2022, is because on June 13, 2022 and the morning of June 14, 2022, I pleaded with

the Clerk of the state court, the Broward Daily Review representative, and/or SHOMA's

attorney, to acknowledge that compliance with the publication provisions of F.S. 45.031,

did not occur.




                                             5
         Case 22-14583-SMG           Doc 40       Filed 07/15/22   Page 6 of 17




       Thus, prior to filing this un-intended bankruptcy case, I exhausted every possible

avenue to save my home from a last-minute and un-noticed foreclosure sale rescheduling

- a rescheduling that occurred without a Court order.

       Therefore, this case was not filed in bad faith and as such, the Debtor is

requesting this Court to deny SHOMA's request for stay relief and to allow me one final

opportunity to reorganize my debts. Specifically, the Debtor is requesting the Court find

that this case was not filed in bad faith, and that SHOMA, therefore, is not entitled to

relief from the stay pursuant to § 362(d).

Adequate Protection

       Section 362(d)(2) provides that:

               A party seeking relief from the automatic stay under § 362(d)(2) must

       show that the debtor has no equity in the property at issue, after which the burden

       shifts to the debtor to show that the property is necessary to an effective

       reorganization. 11 U.S.C. § 362(g).

               SHOMA's motion for relief from stay indicates that it is allegedly owed

       approximately $34,186.73 dollars as of the petition date. [ECF No. 19-1].

       Additionally, there is a 1999 mortgage on the subject property with a balance due

       of approximately $360,000 dollars. Clearly, SHOMA's own filings reflects that

       the Broward County Property Appraiser's valuation of the subject property at

       $528,410.00 dollars. [ECF No. 19-4]. As such, SHOMA has failed to prove that

       there is no equity in the subject Property. Even if it had, however, because the

       Property is my home, it is clearly necessary for an effective reorganization. In

       short, the Debtor proposes to adequately protect SHOMA's alleged security



                                              6
        Case 22-14583-SMG            Doc 40      Filed 07/15/22      Page 7 of 17




       interest with the equity in the subject property. As such, the Debtor is respectfully

       requesting that this Court does not lift the stay pursuant to§ 362(d)(2).

The Foreclosure Sale

       The Debtor agrees with SHOMA that this chapter 13 bankruptcy case was filed

on June 14, 2022 at exactly 1:12 PM which immediately stayed all judicial proceedings

against me, the Debtor including the certificate of sale that was filed by the clerk of the

state Court on June 14, 2022 at exactly 2:04:26 PM.            Clearly, the June 14, 2022

certificate of sale was filed 52 minutes "post-petition", and as such, violates the

aforementioned Automatic Stay. A copy of the Clerk of the state Court's June 14, 2022

certificate of sale is filed as an attachment to SHOMA's July 1, 2022 motion for Relief

from Stay [ECF No. 19-3].

       Here in Florida, it is well settled that a foreclosure sale is not "complete" until the

Clerk files a certificate of sale. See In re Jaar, 186 BR 148 (Bankr. Court, MD Florida

1995); Garcia v. Rivas, Dist. Court, SD Florida 2016 (Case No. 15-Civ-21274-COOKE);

In re Fothergill, 293 BR 263 (Bankr. Court, SD Florida 2003); and In re Reid, 200 BR

265 (Bankr. Court, SD Florida 1996).

       SHOMA's failure to immediately vacate the June 14, 2022 foreclosure sale, is a

willful violation of the Automatic Stay provisions. See In re Keen, 30 I B.R. 749 (Bankr.

S.D. Fla 2003).

       Although SHOMA violated the automatic stay by not immediately moving to

vacate the June 14, 2022 foreclosure sale, that in-action, in itself, may or may not have

been a "willful" stay violation. However, on June 16, 2022, SHOMA was well aware of

the automatic stay when, on that same day, I, the Debtor filed a suggestion of bankruptcy



                                             7
         Case 22-14583-SMG           Doc 40       Filed 07/15/22     Page 8 of 17




and simultaneously served SHOMA with a copy of that suggestion - as such, SHOMA

received actual notice of this bankruptcy case on or before June 16, 2022.

       Therefore, on June 16, 2022, once notice was given that bankruptcy relief had

been filed on June 14 at exactly 1:12 PM, SHOMA had an affirmative duty to undo the

violation of the stay - i.e., to undo the June 16, 2022 certificate of sale, which was clearly

entered 52 minutes after the June 14, 2022 bankruptcy petition.

       Several courts, including those here in the Southern District of Florida, have held

that the failure to take action to undo an innocent violation of the automatic stay

constitutes a willful violation of the stay. See In re Keen; Also see In re Taylor, I 90 B.R.

459 (Bankr. S.D. Fla 1995).

       WHEREFORE, Debtor Marisa C. Smith is hereby respectfully requesting this

court to deny Creditor Shoma Homes at Nautica Single Family Neighborhood, Inc.'s

Motion for Relief from Stay and for any such further relief as this Honorable Court

deems just and proper.

                                        Verification

                      erjury, I declare that I have read the foregoing, and the facts
                    true and correct to the best of our knowledge and belief.




Miramar, Florida 33027

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

provided by U.S. Mail, electronic mail and/or the Electronic Case Filing system on this

15th day of July, 2022 to the Creditor's Shoma Homes at Nautica Single Family

                                              8
         Case 22-14583-SMG           Doc 40   Filed 07/15/22   Page 9 of 17




Neighborhood, Inc. 's Attorney at:

       HOFFMAN, LARIN & AGNETTI, P.A.
       Counsel for Shoma
       909 North Miami Beach Boulevard, Suite 201
       Nort Miami Beach, Florida 33162
            ffma      law.com




                                          9
Case 22-14583-SMG   Doc 40   Filed 07/15/22   Page 10 of 17




    Exhibit A
       Case 22-14583-SMG                         Doc 40           Filed 07/15/22                  Page 11 of 17




                                                                                       Home      About Us             FAQ          Contact Us   Log Off



                                                                                       Wednesday August 24, 2022
                                                                      < < Previous Auction    Current          Next Auction > >




        Pursuant to new legislation effective July 1, 2008, F. S. 45.031(10), the Clerk may conduct the sale of real or personal
                                     property under an order or judgment by electronic means.


Running Aucti.O!JS




                                    There are no cases currently being auctioned.




Auctions Waiting
                                                                                                        page      1         of 1


                                          Auction Type:                                                   FORECLOSURE
         Auctior1_~tarts
    08/24/2022 10:00 AM ET                Case#:                                                        CACE-20-015682
                                          Final Judgment Amount:                                                           $0.00

          I Place Bid I                   Parcel ID:
                                          Plaintiff Max Bid:                                                              $0.00




       ___ M_y Proxy Bid                                                                       Name ()ti.Title (Ni~name
                    $0.00                                                                         Lorenzo Allen


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II ..".,,.,, ,o,oo .....
         AucJion Starts
                                          Auction Type:
                                          Case#:
                                          Final Judgment Amount:
                                                                                                          FORECLOSURE
                                                                                                        CACE-21-014693
                                                                                                                          $0.00

•          J   Place Bid   j              Parcel ID:
                                          Plaintiff Max Bid:                                                              $0.00




       ________My ProxyJ!i_d__                                                                 Name <>n Title (NicJ<.~
                  $0.00                                                                           Lorenzo Allen


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Case 22-14583-SMG   Doc 40   Filed 07/15/22   Page 12 of 17




    Exhibit B
      Case 22-14583-SMG                        Doc 40            Filed 07/15/22                  Page 13 of 17




                                                                                     Home       About Us             FAQ         Contact Us   Log Off



                                                                                            Tuesday June 14, 2022
                                                                    < < Previous Auction     Current          Next Auction > >




      Pursuant to new legislation effective July 1, 2008, F. S. 45.031(10), the Clerk may conduct the sale of real or personal
                                   property under an order or judgment by electronic means.


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                                  There are no cases currently being auctioned.




Auctions Waiting
                                                                                                       page      2


                                        Auction Type:                                                    FORECLOSURE
       Auc.tionJ,tarts
                                        Case#:                                                         CACE-19-001672
  06/14/2022 10:00 AM ET
                                        Final Judgment Amount:                                                $382,133.50
                                        Parcel ID:                                                      484213060680
         I Place Bid I                  Property Address:                                                1501 NE 40 ST
                                                                                            POMPANO BEACH, 33064
                                        Plaintiff Max Bid:                                                    $382,133.50




      _ _My Proxy Bj~---                                                                      Name o_n Title ( N 1 ~
            $0.00                                                                                Lorenzo Allen



                                        Auction Type:                                                    FORECLOSURE
       Auc;_!ion S_t,1rts
                                        Case#:                                                         CACE-19-002985
 06/14/2022 10:00 AM ET
                                        Final Judgment Amount:                                                $314,904.44
                                        Parcel ID:                                                      494116012110
         I Place Bid I                  Property Address:                                               8221 NW46 ST
                                                                                                   LAUDERHILL, 33351
                                        Plaintiff Max Bid:                                                    $314,904.44




      ___
        My_Proxyj3_id___                                                                      Name on Title (Nie!<_~
          $0.00                                                                                  Lorenzo Allen



                                        Auction Type:                                                    FORECLOSURE
       AuctjC>f! Starts
                                        Case#:                                                         CACE-19-013813
 06/14/2022 10:00 AM ET
                                        Final Judgment Amount:                                                $358,049.33
                                        Parcel ID:                                                      484235100040
         I Place Bid I                  Property Address:                                                700 NW 3 AVE
                                                                                            POMPANO BEACH, 33060
                                        Plaintiff Max Bid:                                                    $358,049.33



      _ _ _My Proxy Bid___                                                                    Name on Title (N~c~
              $0.00                                                                              Lorenzo Allen



                                        Auction Type:                                                    FORECLOSURE
       Auc.tion SJ,1rts
                                        Case#:                                                         CACE-19-019398
 06/14/2022 10:00 AM ET
                                        Final Judgment Amount:                                                $396,686.40
                                        Parcel ID:                                                      514207094120
    Case 22-14583-SMG              Doc 40         Filed 07/15/22     Page 14 of 17
                             Property Address:                          4621 JOHNSON ST
       I Place Bid I                                                 HOLLYWOOD, 33021
                             Plaintiff Max Bid:                               $396,686.40



    ___
      My Proxy 1;!1_d__                                            Name on Title (Nick~
         $0.00                                                        Lorenzo Allen



                             Auction Type:                                  FORECLOSURE
     Au ctiQuJ,Ja rts
                             Case#:                                      CACE-19-023844
06/14/2022 10:00 AM ET
                             Final Judgment Amount:                          $89,945.62
                             Parcel ID:                                   494124GD0150
       I Place Bid I         Property Address:                       3506 NW 49 AVE 415
                                                             LAUDERDALE LAKES, 33319
                             Plaintiff Max Bid:                                $89,945.62




   _ _r.,y Proxy B_ic:l__                                          ~ n Title ( N , ~
           $0.00                                                     Lorenzo Allen



                             Auction Type:                                 FORECLOSURE
     Auction Starts
                             Case#:                                      CACE-20-002190
06/14/2022 10:00 AM ET
                             Final Judgment Amount:                         $119,580.07
                             Parcel ID:                                   514203AH0150
       I Place Bid I         Property Address:                         1024 SE 3 AVE 301
                                                                    DANIA BEACH, 33004
                             Plaintiff Max Bid:                              $119,580.07




   _ _l'Jl_y Proxy Bi_d__                                          Name,_ on Title (Ni£~~
             $0.00                                                     Lorenzo Allen




                             Final Judgment Amount:                          $249,565.74
                             Parcel ID:                                    484215050060
       I Place Bid j         Property Address:                              950 NW49CT
                                                              DEERFIELD BEACH, 33064
                             Plaintiff Max Bid:                              $249,565.74



   _ _ J'!l_y_Proxy Bi_d__                                         Name cm Title ( N i e ~
             $0.00                                                    Lorenzo Allen



                             Auction Type:                                 FORECLOSURE
     Auctjon _§~arts
                             Case#:                                      CACE-20-004737
06/14/2022 10:00 AM ET
                             Final Judgment Amount:                          $285,072.73
                             Parcel ID:                                    504131021280
       I Place Bid I         Property Address:                            10453 SW 50 PL
                                                                     COOPER CITY, 33328
                             Plaintiff Max Bid:                              $285,072.73


                             -
   ___
     My Proxy Bjd___                                               Name c,n Title (Ni_c~
        $0.00                                                         Lorenzo Allen



                             Auction Type:                                 FORECLOSURE
     Aucti,:>n St_arts
                             Case#:                                      CACE-20-014738
06/14/2022 10:00 AM ET
                             Final Judgment Amount:                            $25,296.91
                             Parcel ID:                                    514032062110
       I Place Bid I         Property Address:                            16891 SW 49 CT
                                                                        MIRAMAR, 33027
                             Plaintiff Max Bid:                                $25,296.91
     Case 22-14583-SMG              Doc 40         Filed 07/15/22     Page 15 of 17

     _MY Proxy B_id___                                               Name on Tille ( N i e ~
              $0.00                                                     Lorenzo Allen



                              Auction Type:                                  FORECLOSURE
       Auction_§tarts
                              Case#:                                       CACE-21-005438
 06/14/2022 10:00 AM ET
                              Final Judgment Amount:                               $17,531.52
                              Parcel ID:                                  484123AB2710
        I Place Bid]          Property Address:          3060 HOLIDAY SPRINGS BLVD 17-2
                                                                           MARGATE, 33063
                              Plaintiff Max Bid:                                   $17,531.52



     ___My Proxy Bid___                                             Name o_'lJitle ( N ~
           $0.00                                                       Lorenzo Allen


                                                                           page    2    of 3



Auctions Closed or Canceled
                                                                           page    1    of 1    ,,


                              Auction Type:                                  FORECLOSURE
      Auctl91l St.atus
                              Case#:                                       CACE-19-008134
    Canceled per County
                              Final Judgment Amount:                              $467,442.82
                              Parcel ID:                                    484106070630
                              Property Address:                          5949 NW 125 AVE
                                                                    CORAL SPRINGS, 33076
                              Plaintiff Max Bid:                                  $467,442.82



                                                                    Nam~11 Title ( N i e ~
                                                                       Lorenzo Allen



                              Auction Type:                                  FORECLOSURE
      Auction Sf?tus
                              Case#:                                      CACE-20-013535
    Canceled per County
                              Final Judgment Amount:                              $404,461.97
                              Parcel ID:                                    484135010260
                              Property Address:                             340 NW69 TER
                                                                          MARGATE, 33063
                              Plaintiff Max Bid:                                  $404,461.97



                                                                    Name O!) Title ( N 1 ~
                                                                       Lorenzo Allen



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Case 22-14583-SMG   Doc 40   Filed 07/15/22   Page 16 of 17




   Exhibit C
                           Case 22-14583-SMG                            Doc 40              Filed 07/15/22            Page 17 of 17
Filing# 151215090 E-Filed 06/09/2022 04:54:40 PM



                                          BROWARD

              STATE OF FLORIDA
              COUNTY OF BROWARD:
                                                                                                         NOTICE OF SALE
                    Before the underslgneel authority personally appeared                            PURIVANT TO CHAPTER 4S
              $CHERRIE A. THOMAS, who on oath says that he or ahe is                               IN THE CIRCUIT COURT OF THE 17TH
              the LEGAL CLERK, of the Browatd Daily Business Review f/                                JUDICIAL ClRCUfT IN AND FOR
              k/a Broward Review, a daQy (exaipt Saturday, Sunday and                                 BROWARD CQUNTY, FLORIDA
              Legal HOiidays) newspaper, pubHshed at Fort Lauderdale, In                                CASE NO.: CACE-20-015682 (21)
              Broward County,     Florida; that the attaehed 1:0py of                                SI-IOMA HOMES AT NAUTICA SINGLE
              advertisement, being a Legal Adverti&ement Of Notice In the                              FAMILY    NBGHBOAHOOO ASSOCI-
              matter of                                                                                AiloN, INC., a Florida non-profit cor-
                                                                                                       poration,
                                                                                                       Plaintiff, .
              CACE-20-015682 21
                                                                                                           V.
              NOTICE OF SALE PURSUANT TO CHAPTER 45
                                                                                                        MARISA C. SMITH,
              SHOMA HOMES AT NAUTICA SINGLE FAMILY                                                     Defendants.
              NEIGHBORHOOD ASSOCIATION, INC.,                                                          NOTICE IS HEREBY GIVEN !hat I
              VS. MARISA C. SMITH                                                                    pursuant to a Fmal Summary Judgment
                                                                                                     of Foreclosure dated May 25, 2022
              In the CIRCUIT Court,                                                                 entered in the above-styled cause
              wu published In saJd newapaper by print In the Issues of                              now pending In said court, that I will
              and/or by pub6c:alion on the newspaper's website, If                                  sell to the highest and best bidder for
                                                                                                    cash Qn-Hne at https://www .broward.
              authorized. on
                                                                                                    realforeclose.com/index.cfm at 10:00
                                                                                                    AM on June 14, 2022 the foDowing
              06/02/2022 06/06/2022                                                                 described property:
                                                                                                         LOT 41, BLOCK 8, OF NAUTICA
                      Afflant furtller &IIYt that the newspaper complies with all                        PLAT,   ACCORDING TO TI-IE PLAT
                                                                                                         THEREOF, AS RECORDED IN
              legal      requirements   for    publicatlon   In   chapter   50,   Florida
                                                                                                         PLAT BOOK 164, PAGE 36, Of THE

              ~T\es~ ,~, • , [,, \ : ~ /'iA ,. IJ
             '✓i3~ ~J~v._/,~ ~?il1\!l~_
                                                                                                         PUBLIC RECORDS OF BROWARD
                                                                                                        COUNTY, FLORIDA;
                                                                                                        a/k/a 3809 S.W. 164th Terrace
                                                                                                        Miramar, Florida 33027.       '
                                                                                                      /WY PERSON ClAIMING AN INlER-
              Sworn to and subscribed before me this                                               EST   IN THE SURPLUS FROM THE
              6 day of JUNE, A.O. 2022                                                             SALE, IF ANY, OTHER THAN THE
                                                                                                   PAOPERlY OWNER AS OF lliE DATE
                                                                                                   OF THE LIS PENDENS, MUST FILE
                                                                                                   A CLAIM WITHIN 60 DAYS AFTER
                                                                                                   THE.SALE.
                                                                                                     Dated: May 25, 2022
                                                                                                      BAKALAR & ASSOCIATES, P.A.
                                                                                                      Attorneys for Plaintiff
                                                                                                      12472 W. Atlantic Blvd.
                                                                                                      Coral Springs, FL33071

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                  ..... .....      BARBARA            I Florida
                                                                                                       Tel: 954-475-4244
                                                                                                       Fax: 954-475-4994
                                                                                                       E-mail: rpiccin@assoc-law.com             I
               ,J~4,            Notary Public. State o 953                                            By: RAYMOND t.:. PICCIN, ESQ.
                 .~fj
               !~1;_        :.I   commission # GG 292\ 2023 ,                                         Florida Bar No.: 156159
               '"'W#'                     Expires Jan •         ·
                \~..>f-OFr--~/ My commh... ational Notary Msn. 1:·                                  ANY PERSON CLAIMING AN INlER-1
                  ........ ·Bonded thrOUIJ "                       •·                             EST IN THE SURPLUS FROM THE                I
                                                                                                  SALE, IF ANY, OTHER THAN THE
                                                                                                  PROPERTY OWNER AS OF THE DATE
                                                                                                                                             I
                                                                                                  OF THE US PENDENS, MUST flLE
                                                                                                  A ClAIM Wln,llN 60 DAYS AFTER
                                                                                                  THE SALE.
                                                                                                    If you are a pe110n with a disabi1ily
                                                                                                  who needs any accommodation in
                                                                                                  order to participate in this proceeding,
                                                                                                  you ~ ~~ed. at no· cost to you,
                                                                                                 lo the proVISIOII of certain assistance.
                                                                                                 Please contact Diana Sobel, Room
                                                                                                 20140, 201 S.E. 'Sixth Street, Fort
                                                                                                 Lauderdale, Florida 33301, 954-831-n21
                                                                                                 at least 7 days before your scheduled
                                                                                                 court appearance, or immediately upon
                                                                                                 receiving this notification If the time
                                                                                                 before the scheduled appearance is
                                                                                                 less than 7 days; if you are hearing
                                                                                                 or voice impaired, call 711.
                                                                                                                                             1
                                                                                                 612-6           22-13/0000600263B




            *** FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 06/09/2022 04:54:39 PM.****
